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 UNITED STATES DEPARTMENT OF JUSTICE
 OFFICE OF THE UNITED STATES TRUSTEE
 ROBERTA A. DEANGELIS
 UNITED STATES TRUSTEE, REGION 3
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 Newark, NJ 07102
 Telephone: (973) 645-3014
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                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY
 ______________________________
                                :
 In re:                         :
                                :         Chapter 7
 IMPERIAL OIL CO., INC.         :         Case No: 07-15294 (RTL)
                                :
 Debtor(s)                      :
 ______________________________:



         STATEMENT OF REVIEW BY THE ACTING UNITED STATES TRUSTEE

        The Acting United States Trustee has reviewed and has no objection to (i) the Trustee’s

 Final Report and Account of the Administration of the Estate and Final Application for

 Compensation, and (ii) the Trustee’s Proposed Distribution of Property of the Estate, all of which

 documents have been filed in the above referenced case.

                                                      ROBERTA A. DEANGELIS
                                                      UNITED STATES TRUSTEE
                                                      REGION 3


                                                      By:_/s/Brenda J. Naughton___
                                                         Brenda J. Naughton
                                                         Paralegal Specialist
 Dated: June 23, 2010


 cc: Thomas J. Orr, Trustee
